
719 S.E.2d 27 (2011)
WILLIAMS
v.
CHANEY.
No. 495P11-1.
Supreme Court of North Carolina.
November 18, 2011.
Kristie Lea Williams, Fort Mill, for Williams, Kristie Lea.
James M. Chaney, Jr., for Chaney, James Marion.
The following order has been entered on the motion filed on the 15th of November 2011 by Plaintiff-Appellant for Temporary Stay:
"Motion Allowed per Special Order solely to stay the mandate of the opinion of the Court of Appeals entered on 19 July 2011 by order of the Court in conference, this the 18th of November 2011 at 2:55 p.m."
